Case 1:19-cv-04304-ILG-SJB Document 70 Filed 03/30/20 Page 1 of 2 PageID #: 1143




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  JAMES GREENE, JENNIFER SHAAL,
  OFER SHAAL, JAKE STONE, GUY
  SHOSHAN, EINAT EZRA MICHAELI, and                          MOTION FOR WITHDRAWAL
  YIFAT SHMILOVICH, on behalf of                             OF APPEARANCE
  themselves and all others similarly situated,
                                                             No. 19-cv-4304
                Plaintiffs,

           v.

  KABBALAH CENTRE INTERNATIONAL,
  INCORPORATED; KABBALAH CENTRES
  OF THE UNITED STATES,
  INCORPORATED; KABBALAH CENTRE
  OF NEW YORK, INCORPORATED; THE
  KABBALAH CENTRE OF FLORIDA, INC.;
  KABBALAH CHILDREN’S ACADEMY;
  KABBALAH ENTERPRISES,
  INCORPORATED; KAF INVESTMENTS,
  LLC; 501 N. LA CIENEGA, LLC;
  SPIRITUALITY FOR KIDS
  INTERNATIONAL, INC.; and KAREN
  BERG, YEHUDA BERG, and MICHAEL
  BERG,

                Defendants.



        PLEASE TAKE NOTICE that Melissa Giger hereby respectfully requests permission to

 withdraw her appearance as counsel on behalf of Plaintiffs James Greene, Jennifer Shaal, Ofer

 Shaal, Jake Stone, Guy Shoshan, Einat Ezra Michaeli, and Yifat Shmilovich in the above-

 captioned action. Pierce Bainbridge Beck Price & Hecht LLP will continue to appear as counsel

 on behalf of Plaintiffs in this action. No delay in the progress of this action will result from this

 withdrawal, and the undersigned is not asserting a relating or charging lien in this action.
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  Dated: March 30, 2020          PIERCE BAINBRIDGE BECK PRICE & HECHT
         New York, New York      LLP


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                                 Attorneys for Plaintiffs and the Proposed Collective
                                 and Class




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